                           Case 20-51002-BLS           Doc 10       Filed 11/11/20         Page 1 of 1




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE
 In re:    Old Loot Crate, Inc.,                                               )    Case No.: 19-11791 (BLS)
                                     Debtor.                                   )
                                                                               )    Chapter: 11
                                                                               )
 Official Committee of Unsecured Creditors of Old LC, Inc., et al., for
                                                                               )
 and on behalf of the estates of Old LC, Inc., et al.,
                                                                               )
                                      Plaintiff,
                                                                               )    Adv. Proc. No.: 20-51002 (BLS)
                                                                               )
 v.
                                                                               )
                                                                               )
 Upfront V, LP, Breakwater Credit Opportunities Fund, L.P., Upfront GP
                                                                               )
 V, LLC, Mark Suster, Dana Kibler, Gregory Bettinelli, Saif Mansour,
                                                                               )
 Aamir Amdani, Eric Beckman, Darrick Geant, Joseph Kaczorowski,
                                                                               )
                                           Defendants.
                                                                               )
                                                                               )
                                                                               )
                             SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                   IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                              Address of Clerk:           824 Market Street, 3rd Floor
                                                          Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

 Name and Address of Plaintiff’s Attorney:
  Jeffrey R. Waxman (DE Bar No. 4159)             Joel B. Bailey, Esquire                Samuel M. Stricklin, Esquire
  Eric J. Monzo (DE Bar No. 5214)                 Joshua L. Hedrick, Esquire             STRICKLIN LAW FIRM, P.C.
  Brya M. Keilson (DE Bar No. 4643)               HEDRICK KRING, PLLC                    Palisade Central II
  500 Delaware Avenue, Suite 1500                 1700 Pacific Avenue, Suite 4650        2435 North Central Expressway
  Wilmington, DE 19801                            Dallas, Texas 75201                    Suite 1200
  Telephone: (302) 888-6800                       Telephone: (214) 880-9625              Richardson, Texas 75080
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  E-mail: emonzo@morrisjames.com                  E-mail: Joel@HedrickKring.com          E-mail: Sam.stricklin@stricklaw.pro
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.
YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                  Address:
                    824 N. Market Street Room: Courtroom #1
                    Wilmington, DE 19801 Date and Time: December 16, 2020 at 10:15 a.m.
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.
United States Bankruptcy
 Court for the District                                                   /s/ Una O’Boyle
     of Delaware                                                          Clerk of the Bankruptcy Court
Date: November 11, 2020
WS01\134180\0001\12289215.v1-11/11/20
